        Case 3:07-cr-00765-MHP Document 327 Filed 04/18/11 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA

                            CRIMINAL PRETRIAL MINUTES

Date: April 18, 2011

Case No.     CR 07-0765 MHP                 Judge: MARILYN H. PATEL

Title: UNITED STATES -v- MENDEL BEKER (b); ARIE PRILIK (b);
                         NEWCON INTERNATIONAL

Attorneys:   Plf: Gene Hamilton
             Dft: Martha Boersch

Deputy Clerk: Anthony Bowser Court Reporter: Sahar Bartlett

                                       PROCEEDINGS

1) Defendants’ Motion for Return of Funds

2)

3)


                              ORDERED AFTER HEARING:

Defendants not present in court; Counsel agree upon motion and calculations; Order to issue.



Time: 5 minutes
